                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 1 of 25


                       1   LATHAM & WATKINS LLP                             MORRISON & FOERSTER LLP
                           Andrew M. Gass (SBN 259694)                      Joseph C. Gratz (SBN 240676)
                       2     andrew.gass@lw.com                              jgratz@mofo.com
                           Joseph R. Wetzel (SBN 238008)                    Vera Ranieri (SBN 271594)
                       3     joseph.wetzel@lw.com                            vranieri@mofo.com
                           505 Montgomery Street, Suite 2000                Melody E. Wong (SBN 341494)
                       4   San Francisco, CA 94111                           melodywong@mofo.com
                           Telephone: 415.391.0600                          425 Market Street
                       5                                                    San Francisco, CA 94105-2482
                           Sarang V. Damle (pro hac vice)                   Telephone: (415) 268-7000
                       6    sy.damle@lw.com
                           Elana Nightingale Dawson (pro hac vice)          Allyson R. Bennett (SBN 302090)
                       7    elana.nightingaledawson@lw.com                   abennett@mofo.com
                           555 Eleventh Street, NW, Suite 1000              707 Wilshire Boulevard
                       8   Washington, D.C. 20004                           Los Angeles, CA 90017-3543
                           Telephone: (202) 637-2200                        Telephone: (213) 892-5200
                       9
                           Allison L. Stillman (pro hac vice)               Carolyn M. Homer (SBN 286441)
                  10        alli.stillman@lw.com                             cmhomer@mofo.com
                           Rachel R. Blitzer (pro hac vice pending)         2100 L Street NW Suite 900
                  11        rachel.blitzer@lw.com                           Washington, D.C., 20037-1525
                           1271 Avenue of the Americas                      Telephone: (202) 887-1500
                  12       New York, NY 10020
                           Telephone: (212) 906-1200                        Max I. Levy (SBN 346289)
                  13                                                         mlevy@mofo.com
                                                                            755 Page Mill Road
                  14                                                        Palo Alto, CA 94304-1018
                                                                            Telephone: (653) 813-5600
                  15
                                                                            Attorneys for OpenAI, Inc., OpenAI, L.P.,
                  16                                                        OpenAI OpCo, L.L.C., OpenAI GP, L.L.C.,
                                                                            OpenAI Startup Fund GP I, L.L.C., and OpenAI
                  17                                                        Startup Fund Management, LLC

                  18                                 UNITED STATES DISTRICT COURT

                  19                              NORTHERN DISTRICT OF CALIFORNIA

                  20                                         SAN JOSE DIVISION

                  21
                           DAVID MILLETTE, individually and on behalf            CASE NO. 3:24-cv-04710-EJD
                  22       of all others similarly situated,
                                                                                 DEFENDANTS’ NOTICE OF MOTION,
                  23                                           Plaintiff,        MOTION TO DISMISS, AND
                                 v.                                              MEMORANDUM OF POINTS AND
                  24                                                             AUTHORITIES IN SUPPORT OF
                           OPENAI, INC., OPENAI, L.P., OPENAI OPCO,              MOTION TO DISMISS
                  25       L.L.C., OPENAI GP, L.L.C., OPENAI STARTUP
                           FUND I, L.P., OPENAI STARTUP FUND GP I,
                  26                                                             Judge: Hon. Edward J. Davila
                           L.L.C., and OPENAI STARTUP FUND                       Date: November 7, 2024
                  27       MANAGEMENT, LLC,                                      Time: 9:00 a.m.
                                                                                 Place: Courtroom 4 – 5th Floor
                  28                                           Defendants.

ATTOR NEY S A T LA W
 SAN FRANCISCO
                                                                                             DEFENDANTS’ MOTION TO DISMISS
                                                                                                   CASE NO. 3:24-CV-04710-EJD
                             Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 2 of 25


                       1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                       2          PLEASE TAKE NOTICE that on November 7, 2024, at 9:00 a.m., or as soon thereafter

                       3   as the matter may be heard, in the United States District Court for the Northern District of

                       4   California, Courtroom 4, 5th Floor, located at 280 South 1st Street, San Jose, CA 95113,

                       5   Defendants OpenAI, Inc., OpenAI, L.P., OpenAI OpCo, L.L.C., OpenAI GP, L.L.C., OpenAI

                       6   Startup Fund GP I, L.L.C., and OpenAI Startup Fund Management, LLC (together, “OpenAI”),

                       7   through their undersigned counsel, will, and hereby do, move to dismiss Counts I and II of the

                       8   Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

                       9          OpenAI’s Motion to Dismiss is based on this Notice, the supporting Memorandum of

                  10       Points and Authorities, the complete files and records in this action, and any additional material

                  11       and arguments as may be considered in connection with the hearing on the Motion.

                  12                                    STATEMENT OF RELIEF SOUGHT

                  13              OpenAI seeks an order pursuant to FRCP 12(b)(6) dismissing with prejudice Counts I and

                  14       II of the Complaint for failure to state a claim upon which relief can be granted.

                  15                                          ISSUES TO BE DECIDED

                  16              The Motion presents the following issues to be decided: (1) whether Counts I and II of the

                  17       Complaint, for unjust enrichment and violation of Cal. Bus. & Prof. Code § 17200, et seq., should

                  18       be dismissed as preempted by Section 301 of the Copyright Act; and (2) whether Counts I and II

                  19       of the Complaint should be dismissed for failure to state a claim.

                  20        Dated: September 4, 2024                     Respectfully submitted,
                  21                                                     By: /s/ Andrew M. Gass
                  22                                                     LATHAM & WATKINS LLP
                                                                         Andrew M. Gass (SBN 259694)
                  23                                                      andrew.gass@lw.com
                                                                         Joseph R. Wetzel (SBN 238008)
                  24                                                      joseph.wetzel@lw.com
                                                                         505 Montgomery Street, Suite 2000
                  25                                                     San Francisco, CA 94111
                                                                         Telephone: 415.391.0600
                  26
                                                                         Sarang V. Damle (pro hac vice)
                  27                                                      sy.damle@lw.com
                                                                         Elana Nightingale Dawson (pro hac vice)
                  28                                                      elana.nightingaledawson@lw.com

ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               1                  DEFENDANTS’ MOTION TO DISMISS
                                                                                                      CASE NO. 3:24-CV-04710-EJD
                           Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 3 of 25


                       1                                    555 Eleventh Street, NW, Suite 1000
                                                            Washington, D.C. 20004
                       2                                    Telephone: (202) 637-2200

                       3                                    Allison L. Stillman (pro hac vice)
                                                             alli.stillman@lw.com
                       4                                    Rachel R. Blitzer (pro hac vice pending)
                                                             rachel.blitzer@lw.com
                       5                                    1271 Avenue of the Americas
                                                            New York, NY 10020
                       6                                    Telephone: (212) 906-1200

                       7                                    By: /s/ Allyson R. Bennett

                       8                                    MORRISON & FOERSTER LLP
                                                            Joseph C. Gratz (SBN 240676)
                       9                                     jgratz@mofo.com
                                                            Vera Ranieri (SBN 271594)
                  10                                         vranieri@mofo.com
                                                            Melody E. Wong (SBN 341494)
                  11                                         melodywong@mofo.com
                                                            425 Market Street
                  12                                        San Francisco, CA 94105-2482
                                                            Telephone: (415) 268-7000
                  13
                                                            Allyson R. Bennett (SBN 302090)
                  14                                         abennett@mofo.com
                                                            707 Wilshire Boulevard
                  15                                        Los Angeles, CA 90017-3543
                                                            Telephone: (213) 892-5200
                  16
                                                            Carolyn M. Homer (SBN 286441)
                  17                                         cmhomer@mofo.com
                                                            2100 L Street NW Suite 900
                  18                                        Washington, D.C., 20037-1525
                                                            Telephone: (202) 887-1500
                  19
                                                            Max I. Levy (SBN 346289)
                  20                                         mlevy@mofo.com
                                                            755 Page Mill Road
                  21                                        Palo Alto, CA 94304-1018
                                                            Telephone: (653) 813-5600
                  22

                  23                                        Attorneys for OpenAI, Inc., OpenAI, L.P., OpenAI
                                                            OpCo, L.L.C., OpenAI GP, L.L.C., OpenAI
                  24                                        Startup Fund GP I, L.L.C., and OpenAI Startup
                                                            Fund Management, LLC
                  25

                  26
                  27

                  28

ATTOR NEY S A T LA W
 SAN FRANCISCO                                                  2                 DEFENDANTS’ MOTION TO DISMISS
                                                                                        CASE NO. 3:24-CV-04710-EJD
                                 Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 4 of 25


                       1                                                    TABLE OF CONTENTS

                       2                                                                                                                                            Page

                       3   I.       INTRODUCTION ............................................................................................................. 1

                       4   II.      BACKGROUND ............................................................................................................... 4

                       5   III.     LEGAL STANDARD ........................................................................................................ 5

                       6   IV.      ARGUMENT ..................................................................................................................... 5

                       7            A.        Both Claims Are Preempted .................................................................................. 6

                       8                      1.         Millette’s YouTube Videos Fall Within Copyright’s
                                                         “Subject Matter” ........................................................................................ 6
                       9
                                              2.         Both Claims Assert Rights “Equivalent” to Those Protected
                  10                                     by Copyright .............................................................................................. 7

                  11                B.        Both Claims Independently Fail on the Merits ...................................................... 9

                  12                          1.         The Unjust Enrichment Claim Independently Fails on the
                                                         Merits ......................................................................................................... 9
                  13
                                              2.         The UCL Claim Independently Fails ....................................................... 11
                  14
                                    C.        Leave to Amend Would Be Futile ....................................................................... 14
                  15
                           V.       CONCLUSION ................................................................................................................ 14
                  16

                  17

                  18

                  19

                  20

                  21

                  22

                  23

                  24

                  25

                  26
                  27

                  28

ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                                    i                           DEFENDANTS’ MOTION TO DISMISS
                                                                                                                                    CASE NO. 3:24-CV-04710-EJD
                              Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 5 of 25


                       1                                                  TABLE OF AUTHORITIES

                       2                                                                                                                                   Page(s)

                       3                                                                   CASES
                       4   Andersen v. Stability AI Ltd.,
                              700 F. Supp. 3d 853 (N.D. Cal. 2023) .......................................................................................2
                       5

                       6   Andersen v. Stability AI Ltd.,
                              No. 23-cv-00201, 2024 WL 3823234 (N.D. Cal. Aug. 12, 2024) .............................................2
                       7
                           Armstrong-Harris v. Wells Fargo Bank, N.A.,
                       8      No. 21-cv-07637, 2022 WL 3348426 (N.D. Cal. Aug. 12, 2022) .....................................11, 12
                       9   Asencio v. Miller Brewing Co.,
                              283 F. App’x. 559 (9th Cir. 2008) ...........................................................................................12
                  10
                           Ashcroft v. Iqbal,
                  11
                              556 U.S. 662 (2009) ...................................................................................................................5
                  12
                           Astiana v. Hain Celestial Grp., Inc.,
                  13           783 F.3d 753 (9th Cir. 2015) .....................................................................................................9

                  14       Bell Atl. Corp. v. Twombly,
                               550 U.S. 544 (2007) ...................................................................................................................5
                  15
                           Berge v. Board of Trustees of the Univ. of Ala,
                  16
                              104 F.3d 1453 (4th Cir. 1997) ...................................................................................................7
                  17
                           Bosco Wai-Choy Chiu v. NBS Default Servs., LLC,
                  18          No. 14-cv-05261, 2015 WL 1221399 (N.D. Cal. Mar. 17, 2015) ...........................................10

                  19       Brown v. Van’s Int’l Foods, Inc.,
                              No. 22-cv-00001, 2022 WL 1471454 (N.D. Cal. May 10, 2022) ..............................................5
                  20
                           Cafasso v. Gen. Dynamics C4 Sys., Inc.,
                  21          637 F.3d 1047 (9th Cir. 2011) .................................................................................................12
                  22
                           Comparison Med. Analytics, Inc. v. Prime Healthcare Servs., Inc.,
                  23         No. 14-cv-3448, 2015 WL 12746228 (C.D. Cal. Apr. 14, 2015) ............................................14

                  24       Davis v. RiverSource Life Ins. Co.,
                              240 F. Supp. 3d 1011 (N.D. Cal. 2017) ...................................................................................11
                  25
                           Del Madera Properties v. Rhodes and Gardner, Inc.,
                  26          820 F.2d 973 (9th Cir. 1987) .....................................................................................................8
                  27       Doe 1 v. GitHub, Inc.,
                  28          672 F. Supp. 3d 837 (N.D. Cal. 2023) .......................................................................................1

ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                                    i                         DEFENDANTS’ MOTION TO DISMISS
                                                                                                                                  CASE NO. 3:24-CV-04710-EJD
                              Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 6 of 25


                       1   Doe 1 v. GitHub, Inc.,
                              No. 22-cv-06823, 2024 WL 235217 (N.D. Cal. Jan. 22, 2024) .......................................1, 9, 14
                       2
                           Doe 1 v. GitHub, Inc.,
                       3
                              No. 22-cv-06823, 2024 WL 1643691 (N.D. Cal. Apr. 15, 2024) ..............................................1
                       4
                           Eidmann v. Walgreen Co.,
                       5      522 F. Supp. 3d 634 (N.D. Cal. 2021) ...............................................................................12, 13

                       6   Entous v. Viacom Int’l, Inc.,
                              151 F. Supp. 2d 1150 (C.D. Cal. 2001) .....................................................................................6
                       7
                           ESG Cap. Partners, LP v. Stratos,
                       8      828 F.3d 1023 (9th Cir. 2016) .............................................................................................9, 10
                       9
                           Firoozye v. Earthlink Network,
                   10         153 F. Supp. 2d 1115 (N.D. Cal. 2001) .....................................................................................8

                   11      Flores v. EMC Mortg. Co.,
                              997 F. Supp. 2d 1088 (E.D. Cal. 2014)....................................................................................12
                   12
                           Fourth Estate Public Benefit Corp. v. Wall-Street.com, LLC,
                   13         586 U.S. 296 (2019) ...................................................................................................................3
                   14
                           Golden v. Qualcomm, Inc.,
                   15         No. 22-cv-03283, 2023 WL 2530857 (N.D. Cal. Mar. 15, 2023) ...........................................14

                   16      Hadley v. Kellogg Sales Company,
                              243 F. Supp. 3d 1074 (N.D. Cal. 2017) ...................................................................................13
                   17
                           In re Actimmune Marketing Litig.,
                   18          No. 08-cv-02376, 2009 WL 3740648 (N.D. Cal. Nov. 6, 2009) .........................................4, 13
                   19      Inn S.F. Enterprise, Inc. v. Ninth Street Lodging, LLC,
                   20          No. 16-cv-00599, 2016 WL 8469189 (N.D. Cal. Dec. 19, 2016)..............................................3

                   21      Kadrey v. Meta Platforms, Inc.,
                              No. 23-cv-03417, 2023 WL 8039640 (N.D. Cal. Nov. 20, 2023) .............................................2
                   22
                           Kodadek v. MTV Networks, Inc.,
                   23         152 F.3d 1209 (9th Cir. 1998) ...................................................................................................8
                   24      Laws v. Sony Music Ent., Inc.,
                              448 F.3d 1134 (9th Cir. 2006) ...........................................................................................6, 7, 8
                   25

                   26      Lieb v. Korangy Publishing, Inc.,
                              No. 15-cv-0040, 2022 WL 1124850 (E.D.N.Y. Apr. 14, 2022) ................................................8
                   27
                           Novak v. United States,
                   28         795 F.3d 1012 (9th Cir. 2015) .................................................................................................14
                                                                                                                           DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                                   ii                              CASE NO. 3:24-CV-04710-EJD
                              Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 7 of 25


                       1   Price v. Apple, Inc.,
                               No. 21-cv-02846, 2022 WL 1032472 (N.D. Cal. Apr. 6, 2022) ..............................................13
                       2
                           ProCD, Inc. v. Zeidenberg,
                       3
                              86 F.3d 1447 (7th Cir. 1996) .....................................................................................................7
                       4
                           Punian v. Gillette Company,
                       5      No. 14-cv-05028, 2016 WL 1029607 (N.D. Cal. Mar. 15, 2016) ...........................................14

                       6   Ray v. ESPN, Inc.,
                              783 F.3d 1140 (8th Cir. 2015) ...................................................................................................7
                       7
                           Rentmeester v. Nike, Inc.,
                       8      883 F.3d 1111 (9th Cir. 2018) ...................................................................................................8
                       9
                           Rosal v. First Fed. Bank of Cal.,
                   10         671 F. Supp. 2d 1111 (N.D. Cal. 2009) ...................................................................................10

                   11      Rosell v. Wells Fargo Bank, N.A.,
                              No. 12-cv-06321, 2014 WL 4063050 (N.D. Cal. Aug. 15, 2014) ...........................................13
                   12
                           Russell v. Walmart, Inc.,
                   13         680 F. Supp. 3d 1130 (N.D. Cal. 2023) ...............................................................................9, 10
                   14
                           Shade v. Gorman,
                   15         No. 08-cv-3471, 2009 WL 196400 (N.D. Cal. Jan. 28, 2009) ...................................................8

                   16      Smedt v. Hain Celestrial Group, Inc.,
                              No. 12-cv-03029, 2014 WL 2466881 (N.D. Cal. May 30, 2014) ............................................12
                   17
                           Snarr v. Cento Fine Foods Inc.,
                   18         No. 19-cv-02627, 2019 WL 7050149 (N.D. Cal. Dec. 23, 2019)............................................10
                   19      Sony Computer Entm’t, Inc. v. Connectix Corp.,
                   20         203 F.3d 596 (9th Cir. 2000) .....................................................................................................4

                   21      Tremblay v. OpenAI, Inc.,
                              No. 23-cv-03223, 2024 WL 557720 (N.D. Cal. Feb. 12, 2024) ...................................... passim
                   22
                           Tremblay v. OpenAI, Inc.,
                   23         No. 23-cv-03223, 2024 WL 3640501 (N.D. Cal. July 30, 2024) .................................... passim
                   24      Troyk v. Farmers Grp., Inc.,
                              171 Cal. App. 4th 1305 (2009) ................................................................................................11
                   25

                   26      Yu v. ByteDance Inc.,
                              No. 23-cv-03503, 2023 WL 5671932 (N.D. Cal. Sept. 1, 2023) ...............................................6
                   27

                   28
                                                                                                                        DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                                iii                             CASE NO. 3:24-CV-04710-EJD
                              Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 8 of 25


                       1                                                                 STATUTES
                       2   17 U.S.C. § 102 ............................................................................................................................3, 6
                           17 U.S.C. § 106 ........................................................................................................................3, 6, 8
                       3
                           17 U.S.C. § 301 ....................................................................................................................1, 3, 6, 7
                       4
                           Cal. Bus. & Prof. Code § 17204 ....................................................................................................11
                       5
                                                                                            RULES
                       6
                           Fed. R. Civ. P. 11 (1983 Advisory Committee Note) ......................................................................2
                       7
                           Fed. R. Civ. P. 15(a)(2) ..................................................................................................................14
                       8
                                                                              OTHER AUTHORITIES
                       9
                           H.R. Rep. No. 94-1476 (1976).........................................................................................................6
                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26
                   27

                   28
                                                                                                                               DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                                     iv                                CASE NO. 3:24-CV-04710-EJD
                                Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 9 of 25


                       1   I.       INTRODUCTION

                       2            The Complaint in this case is, in several respects, a carbon copy of the pleadings filed in

                       3   June of last year in Tremblay, et al. v. OpenAI, Inc. See Compl., No. 23-cv-03223, Dkt. 1 (N.D.

                       4   Cal., June 28, 2023). In addition to a copyright infringement claim, the Tremblay plaintiffs also

                       5   brought state-law claims for “unfair competition,” see id. ¶¶ 68–72, and “[u]njust enrichment,” see

                       6   id. ¶¶ 79–86. Both state-law claims were based on OpenAI’s alleged use of copyrighted material

                       7   to train large language models. Over the past fifteen months, courts in this District have issued no

                       8   fewer than seven written opinions—in Tremblay and other similar cases—addressing the same

                       9   state-law theories. Every single one has reached the same conclusion: that the use of copyrighted

                  10       material to train AI models is governed exclusively by federal copyright law, and that state law

                  11       claims premised on that kind of conduct are preempted by 17 U.S.C. § 301:

                  12            •   Tremblay v. OpenAI, Inc., No. 23-cv-03223 (Judge Martínez-Olguín): Compl. ¶¶ 68–

                  13                72, 79–86 (Dkt. 1) (June 28, 2023) (alleging UCL and unjust enrichment claims based on

                  14                “use[]” of “works to train ChatGPT”); 2024 WL 557720, at *5–7 & n.3 (Feb. 12, 2024)

                  15                (Tremblay I) (dismissing unjust enrichment in whole and UCL in part, suggesting that

                  16                remaining element of UCL claim “may be preempted”); Am. Compl. ¶¶ 70–74 (Dkt. 120)

                  17                (Mar. 13, 2024) (realleging UCL claim, but dropping unjust enrichment claim); 2024 WL

                  18                3640501, at *2 (July 30, 2024) (Tremblay II) (dismissing UCL claim as preempted and

                  19                denying leave to amend because claim “lacks a tenable legal theory”).

                  20            •   Doe 1 v. GitHub, Inc., No. 22-cv-06823 (Judge Tigar): Compl. ¶¶ 200–10 (Dkt. 1)

                  21                (Nov. 3, 2022) (alleging unjust enrichment and UCL claims based on “use[]” of works to

                  22                train AI model); 672 F. Supp. 3d 837, 856–57, 860 (May 11, 2023) (GitHub I) (dismissing

                  23                unjust enrichment claim as preempted and UCL claim on the merits); Am. Compl. ¶¶ 266–

                  24                81 (Dkt. 98) (June 8, 2023) (realleging both claims); 2024 WL 235217, at *7–8 (Jan. 22,

                  25                2024) (GitHub II) (dismissing claims as preempted, denying leave to amend unjust

                  26                enrichment claim); Second Am. Compl. (Dkt. 200) (Jan. 25, 2024) (dropping UCL claim);
                  27                2024 WL 1643691 (Apr. 15, 2024) (denying motion for reconsideration of GitHub II).

                  28
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                1                  DEFENDANTS’ MOTION TO DISMISS
                                                                                                       CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 10 of 25


                       1      •   Andersen v. Stability AI Ltd., No. 23-cv-00201 (Judge Orrick): Compl. ¶¶ 223–26

                       2          (Dkt. 1) (Jan. 13, 2023) (alleging UCL claim based on use of images to train AI model);

                       3          700 F. Supp. 3d 853, 875–76 (Oct. 30, 2023) (Andersen I) (dismissing claim; “to the extent

                       4          the improper business act complained of is based on copyright infringement, the claim . . .

                       5          [is] preempted”); Am. Compl. ¶¶ 251–258, 334–341, 372–79, 432–39 (Dkt. 129) (Nov. 29,

                       6          2023) (realleging unjust enrichment / UCL claims); 2024 WL 3823234, at *9–10, *21

                       7          (Aug. 12, 2024) (Andersen II) (dismissing claims “based on the use of plaintiffs’

                       8          copyrighted works without consent” as preempted).

                       9      •   Kadrey v. Meta Platforms, Inc., No. 23-cv-03417 (Judge Chhabria): Compl. at 8–9

                   10             (Dkt. 1) (July 7, 2023) (alleging UCL and unjust enrichment claims based on use of books

                   11             to train large language model); 2023 WL 8039640, at *2 (Nov. 20, 2023) (Kadrey)

                   12             (dismissing state law claims “premised on the rights granted by the Copyright Act” as

                   13             preempted); Am. Compl. ¶¶ 77–82 (Dkt. 69) (Dec. 22, 2023) (abandoning all claims other

                   14             than Count I for “Direct Copyright Infringement”).

                   15             Those opinions would have been among the first to emerge during the “prefiling inquiry

                   16      into both the facts that the law” that Plaintiff David Millette was required to conduct before

                   17      commencing this action on August 2, 2024. Fed. R. Civ. P. 11 (1983 Advisory Committee Note).

                   18      Inexplicably, however, Millette’s complaint not only realleges the very same unjust enrichment

                   19      and UCL claims that have already been rejected by Judges Martínez-Olguín, Tigar, Orrick, and

                   20      Chhabria—but uses the same exact pleading language that, by the time Millette’s Complaint was

                   21      filed, had already been twice rejected in Tremblay, alleging that:

                   22                  Defendants unfairly profit from and take credit for developing a
                                       commercial product based on unattributed reproductions of those stolen
                   23                  [works] and ideas . . . consumers are likely to be deceived. Defendants
                                       knowingly and secretively trained ChatGPT using unauthorized . . . copies
                   24                  of Plaintiff’s [works]. Defendants deceptively marketed their product in
                                       a manner that fails to attribute the success of their product to the work on
                   25                  which it is based.
                   26      Dkt. 1 (“Compl.”) ¶¶ 53–54; compare with Compl. ¶¶ 71–72 in Tremblay v. OpenAI, Inc., No. 23-

                   27      cv-03223, Dkt. 1 (N.D. Cal. June 28, 2023) (same language); Am. Compl. ¶¶ 73–74 in Tremblay

                   28      v. OpenAI, Inc., No. 23-cv-03223, Dkt. 120 (N.D. Mar. 13, 2024) (same language); Tremblay I,

                                                                                                DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               2                        CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 11 of 25


                       1   2023 WL 557720, at *5–6 & n.6 (dismissing claim in part on the merits and suggesting that

                       2   remaining element “may be preempted”); Tremblay II, 2024 WL 3640501, at *2 (dismissing claim

                       3   as preempted without leave to amend).

                       4          Millette’s Complaint is unique in only two respects. First, unlike the plaintiffs in the

                       5   pending cases discussed above, Millette includes no allegations regarding any attempts to register

                       6   the works at issue—which no doubt explains the absence of a copyright infringement claim.

                       7   Fourth Estate Public Benefit Corp. v. Wall-Street.com, LLC, 586 U.S. 296, 301 (2019) (Section

                       8   411(a) of the Copyright Act requires registration “[b]efore pursuing an infringement claim in

                       9   court”). Second, the category of work at issue—here, “YouTube videos,” see Compl. ¶ 4—is

                   10      different from the books, images, and computer code at issue in Tremblay, Kadrey, Andersen, and

                   11      GitHub. But that makes no difference, because YouTube videos are “audiovisual works” that also

                   12      fall within copyright’s exclusive domain. 17 U.S.C. § 102(a)(6). And because Millette’s claims

                   13      seek to use state law as a means to control the “reproduction[]” and “transcription[]” of those

                   14      videos, see, e.g., Compl. ¶¶ 53–54, the claims assert “rights that are equivalent to” the reproduction

                   15      and derivative-work rights laid out in Section 106(1) and (2) of the Copyright Act, see 17 U.S.C.

                   16      § 301(a) (preemption provision); id. § 106(1)–(2) (reproduction and derivative-work rights). For

                   17      that reason, both of these claims are preempted by Section 301 of the Copyright Act.

                   18             The claims also fail on the merits—again, for the very same reasons enunciated by Judge

                   19      Martínez-Olguín in the Tremblay case. Millette’s unjust enrichment claim (Count I) is based on

                   20      the conclusory allegation that he “unwittingly conferred a benefit upon [OpenAI].” Compl. ¶ 44.

                   21      But Millette does not (and cannot) allege that such a benefit was obtained “through fraud, mistake,

                   22      coercion, or request,” which is exactly why the very same claim failed in Tremblay. 2024 WL

                   23      557720, at *7 (emphasis added) (dismissing unjust enrichment claim). Millette’s UCL claim

                   24      (Count II) appears to be based on the UCL’s “unlawful,” “fraudulent,” and “unfair” prongs.

                   25      Compl. ¶ 54. But Millette makes no attempt to “identify any predicate law that [OpenAI] has

                   26      allegedly violated for the ‘unlawful’ prong.” Inn S.F. Enterprise, Inc. v. Ninth Street Lodging,
                   27      LLC, No. 16-cv-00599, 2016 WL 8469189, at *1 (N.D. Cal. Dec. 19, 2016) (dismissing claim);

                   28      see also Tremblay I, 2024 WL 557720, at *5 (dismissing UCL “unlawful” prong claim for failure

                                                                                                  DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                3                         CASE NO. 3:24-CV-04710-EJD
                               Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 12 of 25


                       1   to properly allege predicate). Nor does Millette’s Complaint include any “allegations of fraud”

                       2   that could “satisfy the heightened pleading requirements of Rule 9(b) which apply to UCL fraud

                       3   claims.” Tremblay I, 2024 WL 557720, at *6 (dismissing claim). And Millette’s “unfair” prong

                       4   claim is duplicative of his other claims, which is a sufficient basis for dismissal. In re Actimmune

                       5   Marketing Litig., No. 08-cv-02376, 2009 WL 3740648, at *15 (N.D. Cal. Nov. 6, 2009) (lack of

                       6   independent “theory by which defendants’ conduct could be considered unfair” was dispositive).

                       7            There are, to be sure, a number of pending lawsuits that raise contested questions of

                       8   copyright law relating to OpenAI, including whether the doctrine of fair use applies to OpenAI’s

                       9   alleged use of copyrighted material to create a “wholly new product.” Sony Computer Entm’t, Inc.

                   10      v. Connectix Corp., 203 F.3d 596, 606 (9th Cir. 2000) (upholding fair use). But this is not one of

                   11      them. The Complaint at issue here is nothing more than an attempt to replead theories that courts

                   12      in this District have already spent months analyzing in detail—and have uniformly rejected as

                   13      “lack[ng] a tenable legal theory.” Tremblay II, 2024 WL 3640501, at *2 (dismissing with

                   14      prejudice). Millette’s lawsuit ignores those holdings. Its continued prosecution would be a waste

                   15      of both judicial and party resources. The Court should dismiss Millette’s claims, with prejudice.

                   16      II.      BACKGROUND

                   17               Plaintiff David Millette is an individual who owns a “YouTube account” which he has

                   18      allegedly used to “upload” “video content” to the platform. Compl. ¶ 11. The Complaint provides

                   19      no further information about the specific videos Millette claims to own. Nor does the Complaint

                   20      address whether Millette has made any attempt to register the copyright in his videos.

                   21               Millette brings this lawsuit because he believes that OpenAI used “transcriptions of videos”

                   22      uploaded to YouTube as training data for the large language models (LLMs) used to power

                   23      ChatGPT. Id. ¶ 29.1 This belief is apparently based on an unspecified “New York Times report”

                   24

                   25      1
                               Millette brings suit against the same seven OpenAI entities named in the Tremblay action.
                   26
                           Compl. ¶¶ 13–19; see also Compl. in Tremblay v. OpenAI, Inc., No. 23-cv-03223, Dkt. 1 (N.D.
                   27
                           Cal. June 28, 2023). Millette alleges a series of connections between these entities, see Compl.
                   28
                           ¶¶ 13–19, but does not otherwise distinguish between them.
                                                                                                 DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                4                        CASE NO. 3:24-CV-04710-EJD
                             Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 13 of 25


                       1   that “claims . . . that an OpenAI team . . . transcribed more than one million hours of video from

                       2   YouTube.” Id. ¶ 28. The Complaint provides no further information suggesting that Millette’s

                       3   videos were included in the videos that OpenAI allegedly “transcribed.” Id.

                       4          Millette’s claims are based on the allegation that OpenAI “cop[ied]” his videos, id. ¶ 22,

                       5   created “transcriptions” of them, id. ¶¶ 29, 35(a), and then “extract[ed] [their] expressive

                       6   information” and “ideas,” id. ¶¶ 22, 53.        Millette claims that these acts constitute “unjust

                       7   enrichment” and a violation of California’s UCL. Id. ¶¶ 40–49 (Count I), ¶¶ 50–54 (Count II).

                       8   Millette seeks to represent a two classes: (1) a “Nationwide Class” consisting of “all persons or

                       9   entities domiciled in the United States that uploaded any YouTube video that was transcribed and

                   10      then used as training data for the OpenAI Language Models without their consent,” id. ¶ 30, and

                   11      (2) a “California Subclass,” similarly defined, id. ¶ 31.

                   12      III.   LEGAL STANDARD

                   13             To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

                   14      accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

                   15      662, 678 (2009) (cleaned up). “[A] formulaic recitation of the elements of a cause of action will

                   16      not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Where a claim’s defect “lies in

                   17      the legal theory, not the factual allegations,” dismissal with prejudice is warranted. Brown v. Van’s

                   18      Int’l Foods, Inc., No. 22-cv-00001, 2022 WL 1471454, at *6 (N.D. Cal. May 10, 2022).

                   19      IV.    ARGUMENT

                   20             This Motion seeks dismissal with prejudice of Counts I and II of the Complaint, alleging

                   21      unjust enrichment or restitution (Count I); and unfair competition under California’s UCL

                   22      (Count II). As discussed further below, Millette’s claims are based entirely on allegations that fall

                   23      squarely within copyright’s exclusive domain, and should be dismissed as preempted by Section

                   24      301 of the Copyright Act. See infra Section A. Even absent preemption, Millette’s claims

                   25      independently fail on the merits for a number of independent reasons, including the failure to allege

                   26      facts to state a claim for unjust enrichment, the failure to sufficiently allege “economic injury” for
                   27      purposes of UCL standing, and the failure to allege facts that would state a claim for relief under

                   28      the UCL’s “unlawful,” “fraudulent,” or “unfair” prongs. See infra Section B. Finally, the

                                                                                                   DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                                 5                         CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 14 of 25


                       1   dismissal should be with prejudice, not only because the claims “lack[] a tenable legal theory,” but

                       2   because the same theories—and, indeed, substantial portions of the exact language used in the

                       3   operative complaint—have already been held deficient by multiple courts in this District. See,

                       4   e.g., Tremblay II, 2024 WL 3640501, at *2; see also infra Section C.

                       5          A.      Both Claims Are Preempted

                       6          Section 301 of the Copyright Act “preempt[s] and abolish[es] any rights under the common

                       7   law or statutes of a State that are equivalent to copyright.” H.R. Rep. No. 94-1476, at 130 (1976).

                       8   A state-law claim is preempted under Section 301 if two conditions are satisfied. First, the claim

                       9   must assert rights in a “work[] of authorship” that “come[s] within the subject matter of copyright

                   10      as specified by section[] 102” of the Copyright Act. 17 U.S.C. § 301(a). Section 102(a) of the

                   11      Copyright Act defines the subject matter of copyright, including by listing several “categories” of

                   12      works—one of which is “audiovisual works.” Id. § 102(a)(6). Second, the rights asserted must

                   13      be “equivalent to [] the exclusive rights within the general scope of copyright as specified by

                   14      section 106” of the Copyright Act. Id. § 301(a). Section 106 of the Act defines the rights within

                   15      copyright’s scope, including by granting the “owner of copyright” the exclusive right to

                   16      “reproduce the copyrighted work,” id. § 106(1), and to “prepare derivative works based upon the

                   17      copyrighted work,” id. § 106(2); Laws v. Sony Music Ent., Inc., 448 F.3d 1134, 1137 (9th Cir.

                   18      2006) (discussing this “two-part test”). Both of Millette’s claims are preempted by Section 301.

                   19                     1.      Millette’s YouTube Videos Fall Within Copyright’s “Subject Matter”

                   20             Both of Millette’s claims are based entirely on OpenAI’s alleged use of his “videos.”

                   21      Compl. ¶ 44 (Count I), ¶ 53 (Count II). Videos are “audiovisual works,” 17 U.S.C. § 102(a)(6),

                   22      which “come within the subject matter of copyright as specified by section[] 102” of the Act, id.

                   23      § 301(a); see also Yu v. ByteDance Inc., No. 23-cv-03503, 2023 WL 5671932, at *6 (N.D. Cal.

                   24      Sept. 1, 2023) (“[O]nline videos fall within the subject matter of the Copyright Act as ‘other

                   25      audiovisual works’ under 17 U.S.C. § 102(a)(6).”).

                   26             Millette’s Complaint also suggests that his claims are based on “stolen . . . ideas.”
                   27      Compl. ¶ 53.   While ideas are not protectable by copyright, see 17 U.S.C. § 102(b), they

                   28      nonetheless fall within the “subject matter of copyright” for preemption purposes, see Entous v.

                                                                                                DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               6                        CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 15 of 25


                       1   Viacom Int’l, Inc., 151 F. Supp. 2d 1150, 1159 (C.D. Cal. 2001) (“[C]ourts have consistently held

                       2   that [ideas] fall within the ‘subject matter of copyright’ for the purposes of preemption analysis.”)

                       3   (collecting cases). In this way, Section 301 of the Act “prevent[s] states from giving special

                       4   protection” to subject matter—like ideas, concepts, and facts—that Congress “decided should be

                       5   in the public domain.”      ProCD, Inc. v. Zeidenberg, 86 F.3d 1447, 1453 (7th Cir. 1996)

                       6   (Easterbrook, J.); see also Berge v. Board of Trustees of the Univ. of Ala, 104 F.3d 1453, 1463 (4th

                       7   Cir. 1997) (idea misappropriation claim preempted).

                       8          Accordingly, both of Millette’s claims assert rights in works that fall within the “subject

                       9   matter of copyright” for preemption purposes.

                   10                      2.     Both Claims Assert Rights “Equivalent” to Those Protected by Copyright

                   11             To survive preemption under Section 301, a plaintiff must also show that the rights the

                   12      state-law claim seeks to vindicate are “qualitatively different from” the rights protected by Section

                   13      106 of the Copyright Act. Laws, 448 F.3d at 1143–44; see also 17 U.S.C. § 301(a) (preemption

                   14      analysis evaluates whether rights asserted are “equivalent to any of [copyright’s] exclusive

                   15      rights”). Small differences between the formulation of claim elements are not dispositive—what

                   16      matters is the “essence of [the] claim” and whether the claim’s “underlying nature” is “part and

                   17      parcel of a copyright claim.” Laws, 448 F.3d at 1144 (claim preempted even though “the elements

                   18      of [the] state law claims may not be identical to the elements in a copyright action”); see also Ray

                   19      v. ESPN, Inc., 783 F.3d 1140, 1142–44 (8th Cir. 2015) (focusing on the “crux of [the] case”).

                   20      Claims based on alleged acts of reproduction of a copyrighted work (or the alleged creation of an

                   21      unlawful derivative) necessarily assert rights “equivalent to” the rights granted by Section 106 of

                   22      the Copyright Act. Ray, 783 F.3d at 1144 (when a plaintiff’s alleged “state-law rights” could have

                   23      been “infringed by the mere act of reproduction, performance, distribution or display of his

                   24      [work],” those rights are “equivalent to the exclusive rights within the general scope of copyright”)

                   25      (cleaned up).

                   26             Both of Millette’s claims are predicated on the alleged “us[e]” of Millette’s videos. See
                   27      Compl. ¶ 44 (unjust enrichment), ¶ 51 (UCL). Millette’s alleges that this “use[e]” occurred when

                   28      OpenAI allegedly (1) “transcribed” his videos, id. ¶ 30; (2) “cop[ied]” information from those

                                                                                                 DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               7                         CASE NO. 3:24-CV-04710-EJD
                               Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 16 of 25


                       1   works, id. ¶ 22; and (3) “extracted expressive information” from them, id. But the right to control

                       2   the creation of a “transcri[ption]” of a video is equivalent to copyright’s derivative-work right. 17

                       3   U.S.C. § 106(2); Lieb v. Korangy Publishing, Inc., No. 15-cv-0040, 2022 WL 1124850, at *13

                       4   (E.D.N.Y. Apr. 14, 2022) (“verbatim transcription” of a work is, “in copyright terms, a derivative

                       5   work”). And the right to control the creation of “cop[ies]” of a work is governed exclusively by

                       6   copyright’s reproduction right. 17 U.S.C. § 106(1). So is the right to control the extraction of

                       7   “expressive” information from a work. See, e.g., Rentmeester v. Nike, Inc., 883 F.3d 1111, 1122

                       8   (9th Cir. 2018). Accordingly, the “underlying nature of [Millette’s] state law claim[]” is identical

                       9   to a copyright claim, which renders the state-law claims preempted. See Laws, 448 F.3d at 1144

                   10      (finding plaintiff’s UCL claim preempted because the “alleged misappropriation by the defendants

                   11      [] [is] part and parcel of the copyright claim”); Kodadek v. MTV Networks, Inc., 152 F.3d 1209,

                   12      1213 (9th Cir. 1998) (claim “based solely on rights equivalent to those protected by [] copyright

                   13      law[]” preempted).

                   14               It is irrelevant that Millette’s Complaint features the word “use” instead of the word

                   15      “copy.” See Laws, 448 F.3d at 1144 (focusing on the “underlying nature of [the] state law claims”).

                   16      Courts have routinely dismissed similar claims based on the alleged “use” of material when the

                   17      gravamen of the claim is an act of alleged copying.2 Millette’s claims are no different from the

                   18      state-law claims in Tremblay, GitHub, Andersen, and Kadrey—all of which were based on the

                   19      “use” of copyrighted works to train AI models. See Compl. ¶ 84 in Tremblay v. OpenAI, Inc., No.

                   20      23-cv-03223, Dkt. 1 (N.D. Cal. June 28, 2023) (unjust enrichment claim based on “use of the

                   21

                   22      2
                               See, e.g., Laws, 448 F.3d at 1144–45 (claim based on “use” preempted); Del Madera Properties
                   23
                           v. Rhodes and Gardner, Inc., 820 F.2d 973, 977 (9th Cir. 1987) (unjust enrichment claim based on
                   24
                           “use” of map preempted); Shade v. Gorman, No. 08-cv-3471, 2009 WL 196400, at *5 (N.D. Cal.
                   25
                           Jan. 28, 2009) (unjust enrichment claim based on “use[]” of “plaintiff’s [] footage” to create new
                   26
                           work preempted); Firoozye v. Earthlink Network, 153 F. Supp. 2d 1115, 1128 (N.D. Cal. 2001)
                   27
                           (unjust enrichment claim, which “at its core alleges that the defendants unfairly benefitted from
                   28
                           their unauthorized use” of plaintiff’s work, was “equivalent” to copyright claim and preempted).
                                                                                                 DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               8                         CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 17 of 25


                       1   Infringed Materials to train ChatGPT”); Compl. ¶ 202 in Doe 1 v. GitHub, Inc., No. 22-cv-06823,

                       2   Dkt. 1 (N.D. Cal. Nov. 3, 2022) (unjust enrichment claim based on the “use[]” of “Licensed

                       3   Materials” to “create” AI models); Am. Compl. ¶ 254 in Andersen v. Stability AI, Ltd., No. 23-cv-

                       4   00201, Dkt. 129 (N.D. Cal. Nov. 29, 2023) (unjust enrichment and UCL claim based on “us[e]

                       5   [of] Plaintiffs’ works to train, develop and promote” AI models); Compl. at 9 in Kadrey v. Meta

                       6   Platforms, Inc., No. 23-cv-03417, Dkt. 1 (N.D. Cal. July 7, 2023) (unjust enrichment claim based

                       7   on “unauthorized use of the Infringed Materials to train” AI model).

                       8          Each and every one of these claims was dismissed as preempted by Section 301. See, e.g.,

                       9   Tremblay II, 2024 WL 3640501, at *2 (dismissing with prejudice because the complaint “does not

                   10      lack factual allegations; it lacks a tenable legal theory”); GitHub I, 2024 WL 235217, at *7–8

                   11      (dismissing claims “principally concern[ing] the unauthorized reproduction of [plaintiffs’ works]”

                   12      because they “fall under the purview of the Copyright Act”); see also supra pp. 1–2. Both of

                   13      Millette’s claims should be dismissed for the same reason.

                   14             B.      Both Claims Independently Fail on the Merits

                   15                     1.     The Unjust Enrichment Claim Independently Fails on the Merits

                   16             Millette’s unjust enrichment claim also fails on the merits. Unjust enrichment is not

                   17      generally considered an independent cause of action under California law. Astiana v. Hain

                   18      Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015) (citation omitted). As Millette’s Complaint

                   19      acknowledges, see Compl. ¶ 43, courts instead analyze allegations of unjust enrichment “as a

                   20      quasi-contract claim seeking restitution” that arises from “a claim that a defendant has been

                   21      unjustly conferred a benefit ‘through mistake, fraud, coercion, or request,’” see Astiana, 783 F.3d

                   22      at 762. To plead this claim, Millette must allege both that (1) OpenAI “received and unjustly

                   23      retained a benefit at plaintiff’s expense,” ESG Cap. Partners, LP v. Stratos, 828 F.3d 1023, 1038

                   24      (9th Cir. 2016); and (2) OpenAI did so as a result of qualifying conduct like “mistake, fraud,

                   25      coercion, or request,” Russell v. Walmart, Inc., 680 F. Supp. 3d 1130, 1133–44 (N.D. Cal. 2023)

                   26      (dismissing unjust enrichment claim and denying leave to amend because “further amendment of
                   27      this claim would be futile”). Millette has not done so.

                   28             Millette contends that OpenAI was unjustly enriched because it allegedly used his “videos

                                                                                               DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               9                       CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 18 of 25


                       1   to expand [its] AI software’s training datasets” and to “ma[ke] [its] products more valuable.”

                       2   Compl. ¶¶ 44–47. At best, Millette pleads that OpenAI has “realized a gain at another’s expense,”

                       3   but that is “insufficient.” Russell, 680 F. Supp. 3d at 1133.

                       4          Millette nowhere contends or explains how he made any “mistake” that resulted in him

                       5   conferring a benefit on OpenAI. Id. Nor has Millette pleaded that OpenAI committed any “fraud”

                       6   or “coercion,” or otherwise “request[ed]” anything from Millette. Id.; see also, e.g., Stratos, 828

                       7   F.3d at 1030, 1038–39 (unjust enrichment claim adequately pleaded where plaintiff alleged that it

                       8   remitted $2.8 million to defendants based on false representations and that defendants “paid

                       9   themselves $350,000 with those funds”); Snarr v. Cento Fine Foods Inc., No. 19-cv-02627, 2019

                   10      WL 7050149, at *1, *7–8 (N.D. Cal. Dec. 23, 2019) (unjust enrichment claim adequately pleaded

                   11      where plaintiffs alleged they were coerced into purchasing a product by false statement). This

                   12      alone is a sufficient basis for dismissal. Rosal v. First Fed. Bank of Cal., 671 F. Supp. 2d 1111,

                   13      1133 (N.D. Cal. 2009) (“conclusory allegation” that defendants “retain[ed] profits, income and ill-

                   14      gotten gains at the expense of plaintiff” was “insufficient”); see also Bosco Wai-Choy Chiu v. NBS

                   15      Default Servs., LLC, No. 14-cv-05261, 2015 WL 1221399, at *9 (N.D. Cal. Mar. 17, 2015)

                   16      (dismissing unjust enrichment claim “without leave to amend” where allegations were “conclusory

                   17      and speculative”).

                   18             This is the same reason why Judge Martínez-Olguín dismissed the unjust enrichment claim

                   19      in Tremblay. The plaintiffs in that case relied on similar allegations: that “Defendants derived

                   20      profit and other benefits” from the use of plaintiffs’ works “to train ChatGPT”; that plaintiffs “did

                   21      not consent” to that use; and that “[i]t would be unjust for Defendants to retain those benefits.”

                   22      Compl. ¶¶ 80–86 in Tremblay v. OpenAI, No. 3:23-cv-032223, Dkt. 1 (N.D. Cal., June 28, 2023);

                   23      compare with Compl. ¶¶ 44–49. Judge Martínez-Olguín dismissed that claim for failure to allege

                   24      “that OpenAI unjustly obtained benefits from Plaintiffs’ copyrighted works through fraud,

                   25      mistake, coercion, or request.” Tremblay I, 2024 WL 557720, at *7 (emphasis added). That ruling

                   26      was issued almost six months prior to the filing of this action. Yet Millette failed entirely to avoid
                   27      the same defect in his pleadings. Count I should be dismissed with prejudice for that reason alone.

                   28

                                                                                                  DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               10                         CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 19 of 25


                       1                  2.      The UCL Claim Independently Fails

                       2                          a.      Millette Lacks UCL Standing

                       3          Millette lacks standing to plead a claim under the UCL, which “restricts private standing

                       4   to ‘a person who has suffered injury in fact and has lost money or property as a result of the unfair

                       5   competition.’” Davis v. RiverSource Life Ins. Co., 240 F. Supp. 3d 1011, 1017 (N.D. Cal. 2017)

                       6   (quoting Cal. Bus. & Prof. Code § 17204). For that reason, a UCL plaintiff must allege some

                       7   “economic injury” that was “caused by[]” the alleged activities that form “the gravamen of the

                       8   claim.” Id. (cleaned up). This economic injury requirement is “more stringent than” the injury

                       9   required to establish federal court jurisdiction: unlike Article III, the UCL requires allegations of

                   10      “lost money or property.” Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305, 1348 n.31 (2009).

                   11             Millette fails to allege any such economic injury. The only relevant allegations advanced

                   12      in support of the UCL claim are vague references to OpenAI “unfairly profit[ing]” from its

                   13      development of ChatGPT and its failure to “attribute the success of [that] product” to Millette.

                   14      Compl. ¶¶ 53–54. These are “intangible” harms that do not suffice to confer UCL standing. Troyk,

                   15      171 Cal. App. 4th at 1348 n.31. Because Millette has failed to “show economic injury caused by”

                   16      the acts that underlie his UCL claim, “the UCL claim fails.” Tremblay I, 2024 WL 557720, at *5

                   17      (dismissing identical UCL claim against OpenAI “for this additional reason”).

                   18                             b.      Millette’s UCL Claims Fail on the Merits

                   19             Millette’s UCL claim also fails on the merits. To plead a UCL violation, a plaintiff must

                   20      allege a “business act or practice” that is “either ‘unlawful,’ ‘unfair,’ or ‘fraudulent.’” Armstrong-

                   21      Harris v. Wells Fargo Bank, N.A., No. 21-cv-07637, 2022 WL 3348426, at *2 (N.D. Cal. Aug. 12,

                   22      2022) (citation omitted). Each adjective captures a “separate and distinct theory of liability.” Id.

                   23      Millette cannot state a claim under any theory.

                   24             Unlawful Prong. Millette’s claim under the “unlawful” prong of the UCL fails because

                   25      Millette has not identified a predicate violation for this claim. The only sentence in the Complaint

                   26      that references this prong simply states: “The unlawful business practices described herein violate
                   27      the UCL because consumers are likely to be deceived.” Compl. ¶ 54. This formulation—which,

                   28

                                                                                                  DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               11                         CASE NO. 3:24-CV-04710-EJD
                               Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 20 of 25


                       1   again, Millette copied-and-pasted from an earlier Tremblay complaint3—appears to confuse the

                       2   UCL’s “unlawful” prong, which “borrows violations of other laws and treats them as

                       3   independently actionable,” and the UCL’s “fraudulent” prong, which requires a plaintiff to plead

                       4   both fraud and that “members of the public are likely to be deceived.” Smedt v. Hain Celestrial

                       5   Group, Inc., No. 12-cv-03029, 2014 WL 2466881, at *3 (N.D. Cal. May 30, 2014). In any case,

                       6   Millette makes no attempt whatsoever to identify a predicate violation to support an unlawful

                       7   claim, which is a sufficient basis for dismissal. See Eidmann v. Walgreen Co., 522 F. Supp. 3d

                       8   634, 647 (N.D. Cal. 2021) (dismissing UCL claim based on “unlawful” prong where plaintiff failed

                       9   to allege predicate violations of law); Flores v. EMC Mortg. Co., 997 F. Supp. 2d 1088, 1117–19

                   10      (E.D. Cal. 2014) (dismissing UCL claim with prejudice, including because pleading failed to state

                   11      predicate violation); see also Asencio v. Miller Brewing Co., 283 F. App’x. 559, 562 (9th Cir.

                   12      2008) (affirming district court’s dismissal of UCL claim based on “unlawful” prong because “there

                   13      was no statutory violation”).

                   14                Fraudulent Prong. Millette similarly failed to state a claim under the “fraudulent” prong

                   15      of the UCL, which requires a plaintiff to “satisfy the heightened pleading requirements of Rule

                   16      9(b).” Armstrong-Harris, 2022 WL 3348426, at *2. At a minimum, that rule requires a plaintiff

                   17      to identify a “purportedly fraudulent statement” and explain “what is false or misleading about

                   18      [it].” Cafasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011). Millette has

                   19      done neither. Instead, Millette simply copied the corresponding language from the “unlawful

                   20      business practices” section of the amended complaint in Tremblay, see Am. Compl. ¶ 74, No. 23-

                   21      cv-03223, Dkt. 120 (N.D. Cal. Mar. 13, 2024)—which the Tremblay plaintiffs notably abandoned

                   22      after OpenAI moved to dismiss. Tremblay II, 2024 WL 3640501, at *1 (holding that the plaintiffs

                   23      had “conced[ed]” the unlawful and fraudulent claims).          That language makes only vague

                   24      references to “deceptive[] market[ing],” Compl. ¶ 54, but fails to identify any false “statement.”

                   25      Cafasso, 637 F.3d at 1055. These allegations thus fall far short of Rule 9(b), which is a sufficient

                   26
                           3
                               See Am. Compl. ¶ 74 in Tremblay v. OpenAI, Inc., No. 23-cv-03223, Dkt. 120 (N.D. Cal. Mar. 13,
                   27

                   28      2024) (same language).

                                                                                                DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               12                       CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 21 of 25


                       1   reason to dismiss Millette’s “fraudulent” UCL claim. Tremblay I, 2024 WL 557720, at *6

                       2   (dismissing identical claim for failure to “satisfy the heightened pleading requirements of Rule

                       3   9(b) which apply to UCL fraud claims”).

                       4          Unfair Prong. Millette’s “unfair” prong claim fares no better. The section of the Complaint

                       5   discussing this claim consists entirely of two sentences. The first recites a test that some courts

                       6   use to enunciate the standard for “unfair” UCL claims, Compl. ¶ 53 (“immoral, unethical,

                       7   oppressive, unscrupulous, [etc.]”), before stating that OpenAI used Millette’s video “without []

                       8   authorization,” id. The second sentence accuses OpenAI of “unfairly profit[ing] from and tak[ing]

                       9   credit for developing a commercial product based on unattributed reproductions of [] stolen videos

                   10      and ideas.” Id. These meager allegations fall far short of stating a claim.

                   11             Merely “parrot[ting] the legal standard for ‘unfair business practice’” is obviously

                   12      insufficient. See Price v. Apple, Inc., No. 21-cv-02846, 2022 WL 1032472, at *5 (N.D. Cal. Apr. 6,

                   13      2022). And “courts in this district have held that where the unfair business practices alleged under

                   14      the unfair prong of the UCL overlap entirely with the business practices addressed in the fraudulent

                   15      and unlawful prongs of the UCL, the unfair prong of the UCL cannot survive if the claims under

                   16      the other two prongs of the UCL do not survive.” Hadley v. Kellogg Sales Company, 243 F. Supp.

                   17      3d 1074, 1104–05 (N.D. Cal. 2017); accord Eidmann., 522 F. Supp. 3d at 647. A plaintiff, in other

                   18      words, must present some “theory by which defendants’ conduct could be considered unfair” that

                   19      does not simply describe a different cause of action. Actimmune, 2009 WL 3740648, at *14, aff’d,

                   20      464 F. App’x 651 (9th Cir. 2011); see also Rosell v. Wells Fargo Bank, N.A., No. 12-cv-06321,

                   21      2014 WL 4063050, at *5–6 (N.D. Cal. Aug. 15, 2014) (dismissing “unfair” claim that was “entirely

                   22      duplicative of [] contract claims”).

                   23             Here, however, Millette’s statements in support of his UCL “unfair” prong claim are

                   24      entirely duplicative of the other theories of liability alleged in the Complaint. Compare Compl.

                   25      ¶ 53 (alleging “unfair” UCL claim based on lack of “authorization,” derivation of “profit,” and the

                   26      alleged failure to “credit” Millette for the creation of ChatGPT), with id. ¶ 54 (alleging “unlawful”
                   27      UCL claim based on fact that transcriptions were “unauthorized” and OpenAI “failed to attribute

                   28      the success of [its] product” to Millette). Because Millette’s fraudulent and unlawful UCL claims

                                                                                                 DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               13                        CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 22 of 25


                       1   are flawed, the unfair UCL claim should be dismissed as well. See, e.g., Punian v. Gillette

                       2   Company, No. 14-cv-05028, 2016 WL 1029607, at *17 (N.D. Cal. Mar. 15, 2016) (dismissing

                       3   unfair prong claim on this basis and finding that “leave to amend will be futile”).

                       4          C.      Leave to Amend Would Be Futile

                       5          While the court “should freely give leave” to amend “when justice so requires,” FED. R.

                       6   CIV. P. 15(a)(2), prejudicial dismissal is warranted when “amendment would be futile,”

                       7   Comparison Med. Analytics, Inc. v. Prime Healthcare Servs., Inc., No. 14-cv-3448, 2015 WL

                       8   12746228, at *7 (C.D. Cal. Apr. 14, 2015). As the Ninth Circuit has explained: “the general rule

                       9   that parties are allowed to amend their pleadings . . . does not extend to cases in which any

                   10      amendment would be an exercise in futility.” Novak v. United States, 795 F.3d 1012, 1020 (9th

                   11      Cir. 2015) (citation omitted).

                   12             Multiple courts in this district have already considered the exact same legal theories

                   13      Millette copies here and dismissed them, noting that they “lack[] a tenable legal theory.” Tremblay

                   14      II, 2024 WL 3640501, at *2 (denying leave to amend); GitHub II, 2024 WL 235217, at *7–9

                   15      (dismissing UCL and unjust enrichment claims on preemption grounds and denying leave to

                   16      amend). Three separate groups of plaintiffs have attempted to avoid these problems by amending

                   17      their pleadings—and each such attempt has failed. See supra pp. 1–2. There is no reason to believe

                   18      that the result here would be any different. Because these claims are “equally as frivolous as [the]

                   19      many allegations against [OpenAI] that preceded them,” Millette’s Complaint should be dismissed

                   20      in its entirety, with prejudice. Golden v. Qualcomm, Inc., No. 22-cv-03283, 2023 WL 2530857,

                   21      at *2–3 (N.D. Cal. Mar. 15, 2023) (granting “dismissal without leave to amend . . . on the first

                   22      round motion to dismiss” because plaintiff’s claims “repeat, either directly or in substance, claims

                   23      previously found more than once to be frivolous”).

                   24      V.     CONCLUSION

                   25             For the foregoing reasons, the Court should dismiss the Complaint with prejudice.

                   26
                   27

                   28

                                                                                                DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                              14                        CASE NO. 3:24-CV-04710-EJD
                           Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 23 of 25


                       1   Dated: September 4, 2024          Respectfully submitted,

                       2                                     By: /s/ Andrew M. Gass

                       3                                     LATHAM & WATKINS LLP
                                                             Andrew M. Gass (SBN 259694)
                       4                                      andrew.gass@lw.com
                                                             Joseph R. Wetzel (SBN 238008)
                       5                                      joseph.wetzel@lw.com
                                                             505 Montgomery Street, Suite 2000
                       6                                     San Francisco, CA 94111
                                                             Telephone: 415.391.0600
                       7
                                                             Sarang V. Damle (pro hac vice)
                       8                                      sy.damle@lw.com
                                                             Elana Nightingale Dawson (pro hac vice)
                       9                                      elana.nightingaledawson@lw.com
                                                             555 Eleventh Street, NW, Suite 1000
                   10                                        Washington, D.C. 20004
                                                             Telephone: (202) 637-2200
                   11
                                                             Allison L. Stillman (pro hac vice)
                   12                                         alli.stillman@lw.com
                                                             Rachel R. Blitzer (pro hac vice pending)
                   13                                         rachel.blitzer@lw.com
                                                             1271 Avenue of the Americas
                   14                                        New York, NY 10020
                                                             Telephone: (212) 906-1200
                   15
                                                             By: /s/ Allyson R. Bennett
                   16
                                                             MORRISON & FOERSTER LLP
                   17                                        Joseph C. Gratz (SBN 240676)
                                                              jgratz@mofo.com
                   18                                        Vera Ranieri (SBN 271594)
                                                              vranieri@mofo.com
                   19                                        Melody E. Wong (SBN 341494)
                                                              melodywong@mofo.com
                   20                                        425 Market Street
                                                             San Francisco, CA 94105-2482
                   21                                        Telephone: (415) 268-7000

                   22                                        Allyson R. Bennett (SBN 302090)
                                                              abennett@mofo.com
                   23                                        707 Wilshire Boulevard
                                                             Los Angeles, CA 90017-3543
                   24                                        Telephone: (213) 892-5200

                   25                                        Carolyn M. Homer (SBN 286441)
                                                              cmhomer@mofo.com
                   26                                        2100 L Street NW Suite 900
                                                             Washington, D.C., 20037-1525
                   27                                        Telephone: (202) 887-1500

                   28

                                                                                   DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                  15                       CASE NO. 3:24-CV-04710-EJD
                           Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 24 of 25


                       1                                     Max I. Levy (SBN 346289)
                                                              mlevy@mofo.com
                       2                                     755 Page Mill Road
                                                             Palo Alto, CA 94304-1018
                       3                                     Telephone: (653) 813-5600

                       4
                                                             Attorneys for OpenAI, Inc., OpenAI, L.P., OpenAI
                       5                                     OpCo, L.L.C., OpenAI GP, L.L.C., OpenAI
                                                             Startup Fund GP I, L.L.C., and OpenAI Startup
                       6                                     Fund Management, LLC

                       7

                       8

                       9

                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26
                   27

                   28

                                                                                  DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                  16                      CASE NO. 3:24-CV-04710-EJD
                            Case 3:24-cv-04710-JD Document 35 Filed 09/04/24 Page 25 of 25


                       1                                     ATTESTATION CLAUSE
                       2          I am the ECF User whose identification and password are being used to file the foregoing
                       3   Defendants’ Notice of Motion, Motion to Dismiss, and Memorandum of Points and Authorities in
                       4   Support of Motion to Dismiss. Pursuant to Local Rule 5-1(i)(3) regarding signatures, I, Andrew
                       5   M. Gass, attest that concurrence in the filing of this document has been obtained.
                       6

                       7   Dated: September 4, 2024                                       /s/ Andrew M. Gass
                       8

                       9

                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26
                   27

                   28

                                                                                               DEFENDANTS’ MOTION TO DISMISS
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                              17                       CASE NO. 3:24-CV-04710-EJD
